       Case 4:06-cr-00051-CW    Document 47    Filed 04/10/06                   Page 1 of 1



1    J. FRANK McCABE (SBN 48246)
     500 Sansome Street, Suite 212
2    San Francisco, California 94111
     Telephone: (415) 397-1757
3    Facsimile: (415) 433-7258
4    Attorney for Defendant
     KEVIN THOMPSON
5
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                  OAKLAND DIVISION
11
12   UNITED STATES OF AMERICA,          )     NO. CR 06-0051 CW
                                        )
13               Plaintiff,             )     REVISED ORDER PERMITTING
                                        )     DEFENDANT THOMPSON TO
14        v.                            )     TRAVEL OUTSIDE NORTHERN
                                        )     DISTRICT OF CALIFORNIA
15   KEVIN THOMPSON, et al.,            )
                                        )
16               Defendants.            )
                                        )
17
18               GOOD CAUSE appearing therefor,
19               IT IS HEREBY ORDERED that defendant Kevin Thompson may
20   travel to the Central District of California to teach at a seminar
21   between April 13 and 18, 2006, and he may also travel to New York
22   for a church conference and then to Boston for a ministers’
                                                                     S DISTRICT
23   conference between April 20 and 30, 2006.                     TE           C
                                                                 TA
                                                                                           O
                                                            S




                                                                                            U
                                                           ED




                                                                                             RT




24                                                                                 ERED
                                                       UNIT




                                                                           O ORD
                                                                IT IS S
                                                                                                    R NIA




25   DATED:    April 10, 2006.                                                         Brazil
                                                                             ayne D.
                                                       NO




                                                                     Judge W
                                                                                                    FO
                                                        RT




26
                                                                                                LI




                                                                ER
                                                           H




                                                                                            A




                                                                     N                          C
                                                                                           F
                                                                         D IS T IC T O
                                                                               R
27
                                        HON. WAYNE D. BRAZIL
28                                      UNITED STATES MAGISTRATE JUDGE
     REVISED ORDER PERMITTING DEF THOMPSON TO TRAVEL
     OUTSIDE NORTHERN DISTRICT OF CALIFORNIA
